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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                       Case Number 8:01cr222-002
                                                         USM Number 17192-047

WISDOM PAWNEE WEBSTER
               Defendant
                                                         JESSICA P. DOUGLAS
                                                         Defendant’s Attorney
___________________________________

                                 JUDGMENT IN A CRIMINAL CASE
                        (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of Mandatory, Standard and Special conditions of the
term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                Date Violation
        Violation Number                  Nature of Violation                    Concluded


 1 - Mandatory Condition            Driving under the influence                August 21, 2007

 2 - Mandatory Condition            Cited for Open Container and              November 23, 2007
                                    failure to appear

 3 - Mandatory Condition            Driving under the influence,              December 22, 2007
                                    carrying a concealed weapon,
                                    driving left of center, no
                                    operators license, driving under
                                    suspension

 4 - Mandatory Condition            Aggravated assault, resisting               October 4, 2008
                                    arrest, escape

 5 - Standard Condition no. 2       Failure to submit a monthly                    Ongoing
                                    report

 6 - Standard Condition no. 11     Failure to notify probation officer   November 16, 2007 and
                                   of being arrested                     November 29, 2007

 7 - Special Condition no. 1        Excessively consuming alcohol                  Ongoing

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
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defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                 Date of Imposition of Sentence:
                                                                              January 15, 2009

                                                                          s/ Joseph F. Bataillon
                                                                    United States District Judge

                                                                              January 30, 2009
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                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of two (2) months.

The court makes the following recommendations to the Bureau of Prisons:

1.     That the defendant be incarcerated in a federal facility as close as possible to his home in
       Macy, NE, which also offers substantial services for Native Americans. The court
       recommends FCI Oxford, if possible.
2.     Defendant’s sentence credits him to time served. This sentence is to run from 1/15/2009.

The defendant is remanded to the custody of the United States Marshal.

                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                             _____________________________
                                                                     Signature of Defendant

                                               RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

________________________________
                                                                  UNITED STATES WARDEN

                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                        __________________________________
                                                                 UNITED STATES WARDEN

                                                      By:__________________________________
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall continue on Supervised Release until the
termination date of March 7, 2012.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court set
forth below. The defendant shall also comply with any additional conditions.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so by
       the probation officer;
10.    The defendant shall permit a probation officer to visit him at any time at home or elsewhere
       and shall permit confiscation of any contraband observed in plain view of the probation
       officer;
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11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;
13.    As directed by the probation officer, the defendant shall notify third parties of risks that may
       be occasioned by the defendant’s criminal record or personal history or characteristics and
       shall permit the probation officer to make such notifications and to confirm the defendant’s
       compliance with such notification requirement.



                            SPECIAL CONDITIONS OF SUPERVISION

1.     Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
       from excessive use of alcohol, the defendant shall not purchase, possess, use, distribute, or
       administer any alcohol, just the same as any other narcotic or controlled substance.

2.     The defendant shall participate in the home confinement program under electronic monitoring for a
       period of 3 months. Home confinement shall commence according to a schedule arranged by the
       home confinement specialist. The defendant shall comply with the provisions of the Home
       Confinement Participant Agreement and shall pay for the costs of electronic monitoring.

3.     Defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or night,
       with or without a warrant, at the request of the U.S. Probation Officer to determine the presence of
       alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
       be seized by the U.S. Probation Officer. This condition may be invoked with or without the cooperation
       of law enforcement officers.

4.     The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
       or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
       substance abuse, as directed by the U.S. Probation Officer.

5.     The defendant shall attend, pay for, and successfully complete any mental health diagnostic
       evaluations and treatment or counseling programs, to include anger management, as directed by the
       U.S. Probation Officer.

6.     Defendant shall provide the U.S. Probation Officer with access to any requested financial information.

7.     Pursuant to 18 U.S.C. § 3583 (d), defendant shall submit to a drug test within fifteen (15) days of
       release on Supervised Release and at least two (2) periodic drug tests thereafter to determine
       whether the defendant is using a controlled substance. Further, defendant shall submit to such
       testing as requested by any U.S. Probation Officer to detect the presence of alcohol or controlled
       substances in the defendant’s body fluids and to determine whether the defendant has used any of
       those substances. Based on the defendant’s ability to pay, defendant shall pay for the collection of
       urine samples to be tested for the presence of alcohol and/or controlled substances in an amount to
       be determined by the probation officer.

8.     Pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000, the defendant shall
       cooperate in the collection of a DNA sample from the defendant as directed by the probation officer.

9.     Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
       between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha Nebraska,
       (402) 661-7555, within seventy-two (72) hours of release from confinement.
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                         Total Fine                       Total Restitution
           $200.00 (paid)                            .00                              $790.02

The Court has determined that the defendant does not have the ability to pay interest.

                                                   FINE

          No fine imposed.

                                               RESTITUTION

         Restitution in the amount of $790.02 is hereby ordered. The defendant shall make
restitution to the following payee in the amount listed below.

      This restitution obligation is joint and several with Marcus Maurice Country, Kareem Lakota
Robinson, and Angel K. Merrick.


                                                                                        Priority Order
                                **Total Amount                 Amount of                or Percentage
     Name of Payee                  of Loss                Restitution Ordered           of Payment

 Patricia Freemont                   $790.02                    $790.02                   Priority
                                                                                   Order/Percentage

 Totals                              $790.02                    $790.02


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                     SCHEDULE OF PAYMENTS

       Having assessed the defendant’s ability to pay; the court orders that the payment of the total
criminal monetary penalties shall be due as follows:

        The defendant shall pay the special assessment in the amount of $200 (paid).

       Following release from incarceration, the defendant shall make payments to satisfy the
criminal monetary penalty in monthly installments of $25 or 5% of the defendant’s gross income,
whichever is greater. The first payment shall commence 60 days following the defendant’s
discharge from incarceration, and continue until the criminal monetary penalty is paid in full. The
defendant shall be responsible for providing proof of payment to the probation officer as directed.

       The defendant shall inform the probation officer of any change in his economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he shall do so immediately.

       The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.

         Unless the court has expressly ordered otherwise in the special instruction above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be due
during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the
All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322, unless otherwise directed by the court, the
probation officer or the United States Attorney.

      The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS

By ______________________________________
       Deputy Clerk
